SO ORDERED.

SIGNED this 10th day of May, 2022.




____________________________________________________________________________


                     IN THE UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF KANSAS


IN RE:                               )
                                     )                   Case No. 19-41545-11
FENCEPOST PRODUCTIONS, INC., et al., )                   Chapter 11
                                     )                   Jointly Administered
                   Debtors.          )



                                         AGREED ORDER

          THIS MATTER comes on the United States Trustee’s Motion to Dismiss or Convert and,

after review of the record and consideration of the agreement of the parties,

          THE COURT FINDS as follows:

          1.     On December 18, 2019, Debtors Fencepost Productions, Inc. (“Fencepost”), NPB

Compan, Inc. (“NPB”), and Old Dominion Apparel Corporation (“ODA”) initiated bankruptcy cases

by filing their Voluntary Petitions under Chapter 11 of the United States Bankruptcy Code. Debtors

remain in possession of their property and in control of their affairs pursuant to 11 U.S.C. §§ 1107 and

1108.




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         2.    Debtors’ business consists of ownership and operation of the design and

distribution of outdoor apparel for men, women, and youth under a variety of brand names. The

apparel is sold to major department stores, sporting goods stores, mass merchant retailers, and

national online retailers. The prepetition financing of Debtors’ business largely derived from its

prepetition loan with Associated Bank, N.A. (“AB”), which remains the largest creditor in the

Chapter 11 proceeding.

         3.    Debtors are affiliated entities which collectively operate as a common and inte-

grated business enterprise in the production and distribution of outdoor apparel. Debtors’ Chapter

11 cases are jointly administered pursuant to the Order Granting Motion for Joint Administration

entered on March 20, 2020 (Doc #202).

         4.    On March 11, 2020, the Court enter its Order Approving Debtors' Motion for

Approval of Settlement with Associated Bank, N.A. (Doc #303) (the "AB Settlement Order"),

which, without limitation, approved that certain settlement agreement between the Debtors and

AB (the "AB Settlement").

         5.    Debtors filed their First Amended Joint and Consolidated Chapter 11 Plans of

Reorganization (the “Plan”) on November 11, 2020 (Doc #303).            The Court conducted a

confirmation hearing on August 25, 2021 and thereafter issued the Order Confirming Debtors’

First Amended Joint and Consolidated Chapter 11 Plans of Reorganization (the “Confirmation

Order”) on August 31 2021 (Doc #421).

         6.    The Plan's Effective Date (as defined in the Plan) occurred on November 1, 2021,

and Debtors commenced payments to creditors under the Plan in November 2021. Debtors have

made ongoing Plan payments to creditors in 2022.




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           7.   Notwithstanding Debtors’ ongoing distributions under the Plan, Debtors are delin-

quent in the filing of certain operating reports and payment of certain statutory fees to the Office

of the United States Trustee (the “UST”). This delinquency precipitated the filing of the United

States Trustee’s Motion to Dismiss or Convert (the “Motion”) on April 14, 2022 (Doc #445). The

Motion recommends dismissal of the Debtors’ Chapter 11 cases.1 The Limited Response of Asso-

ciated Bank, National Association to U. S. Trustee’s Motion to Dismiss or Convert was filed on

May 6, 2022 (Doc #472).

           8.   In the aftermath of the filing of the Motion, Debtors’ counsel discussed a potential

resolution of the Motion with the UST that would preserve Debtors’ business and the ability of creditors

to continue to receive distributions under the Plan. Both the UST and Debtors are agreeable with the

resolution of the Motion and the conclusion of the Chapter 11 proceeding based on the following:

                a)    both the Fencepost case (No. 19-41545) and the NPB case (No. 19-41542)

shall be dismissed, which dismissals, for the avoidance of doubt, are not based upon an inability

to effectuate substantial consummation of the Plan;

                b)    ODA is current on the submission of all past-due operating reports and has

paid all UST fees through the first quarter of 2022. ODA will pay all remaining UST fees in full;

                c)    ODA will file its Application for Final Decree to close its case (No.

19-41543); and

                d)    the Plan and Confirmation Order shall remain binding on all three Debtors

and their creditors, and, for the avoidance of doubt, the Settlement Order shall remain binding on

all three Debtors and AB.



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       The UST withdraws its assertion in the Motion that the Plan was not substantially
consummated as a basis for dismissal.


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         9.     Debtors overcame substantial financial challenges arising from the pandemic and

successfully negotiated with their largest creditors to achieve a consensual Plan for confirmation.

The foregoing proposal to resolve the Motion and conclude this Chapter 11 proceeding is

reasonable and equitable. It will facilitate the preservation of this challenging reorganization and

the business enterprise of the Debtors while affording creditors the opportunity to receive

distributions under the Plan.

         10.    The Plan is substantially consummated with respect to all Debtors and should be

preserved for the benefit of all Debtors and the creditors. Good cause exists for entry of this

Agreed Order.

         THEREFORE, IT IS HEREBY ORDERED as follows:

         1.     These cases will no longer be subject to joint administration;

         2.     On the terms stated above, the Fencepost case (No. 19-41545) and the NPB case

(No. 19-41542) are dismissed;

         3.     ODA is directed to complete submission of all past-due operating reports and pay

all UST fees in full;

         4.     ODA will file within 14 days of entry of this Agreed Order its Application for Final

Decree to close its case (No. 19-41543); and

         5.     The Plan and Confirmation Order shall remain binding on all three Debtors and

their creditors, and, for the avoidance of doubt, the Settlement Order shall remain binding on all

three Debtors and AB.

       IT IS SO ORDERED

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SUBMITTED BY:

McDOWELL, RICE, SMITH & BUCHANAN


By: /s/ Jonathan A. Margolies
        Jonathan A. Margolies     MO #30770
                                KS Fed #70693
605 West 47th Street, Suite 350
Kansas City, MO 64112
Telephone: 816/753-5400
Fax: 816/753-9996
jmargolies@mcdowellrice.com
ATTORNEYS FOR DEBTORS

APPROVED BY:

ILENE J. LASHINSKY,
UNITED STATES TRUSTEE                           AKERMAN LLP


By: /s/ Richard A. Kear                         By: /s/ Paul T. Musser
     Richard A. Kear         KS #20724               Paul T. Musser        IL #6304946
                                                                 (admitted pro hac vice)
Trial Attorney
301 North Main Street, Suite 1150               71 South Wacker Drive, 47th Floor
Wichita, KS 67202                               Chicago, IL 60606
Telephone: 316/269-6213                         Telephone: 312/870-8044
richard.kear@usdoj.gov                          paul.musser@akerman.com
UNITED STATES TRUSTEE                           ATTORNEYS FOR
                                                ASSOCIATED BANK, N.A.




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